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                                                 February 7, 2025
VIA ECF

Honorable Judge Cheryl L. Pollack
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

        Re:     Estate of Willie Jackson v. County of Suffolk
                12-cv-01455 (AAR/CLP)
                Our File No. CS9165JD

Dear Honorable Judge Pollack:

       We are counsel for the defendants in the above-referenced action; and write to provide Your
Honor with a further updated status of the case. As we previously reported, the parties have
successfully settled the case.

        We have obtained the required approvals and executed the necessary documents. We will
soon be forwarding a proposed Order to the Court. Thereafter, we anticipate payment will be made
within thirty to forty-five days, depending on the County’s payment schedule.

        We thank the Court again for its continued consideration.

                                                 Respectfully submitted,

                                                 DEVITT SPELLMAN BARRETT, LLP

                                                 /s/ John M. Shields
                                                 _________________________________
cc: All Counsel (via ECF)                        By: John M. Shields, Esq.

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